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                                                         1                                                            3
           UNITED STATES DISTRICT COURT                       1   APPEARING FOR ANADARKO PETROLEUM COMPANY:
                                                                    Mr. Warren E. George
           EASTERN DISTRICT OF LOUISIANA                      2     BINGHAM MCCUTCHEN
                                                                    Three Embarcadero Center
     IN RE: OIL SPILL    ) MDL NO. 2179                       3     San Francisco, California 94111-4067
                                                              4
     BY THEOIL RIG     )                                          APPEARING FOR CAMERON INTERNATIONAL CORPORATION:
     "DEEPWATER HORIZON" IN ) SECTION "J"                     5     Mr. Brad Coffey
     THE GULF OF MEXICO, ON )                                       BECK, REDDEN & SECREST
     APRIL 20, 2010   ) JUDGE BARBIER                         6     One Houston Center
                                                                    1221 McKinney Street, Suite 4500
                 ) MAG. JUDGE SHUSHAN                         7     Houston, Texas 77010-2010
                                                              8
                                                                  APPEARING FOR WEATHERFORD:
                                                              9     Mr. Edward D. Wegmann
                                                                    JONES, WALKER, WAECHTER, POITEVENT,
                                                             10     CARRERE & DENEGRE, LLP
                                                                    201 St. Charles Avenue
                                                             11     New Orleans, Louisiana 70170-5100
                                                             12
                                                                  APPEARING FOR DRIL-QUIP, INC.:
                                                             13     Ms. Wendy Ware Bishop
                                                                    WARE, JACKSON, LEE & CHAMBERS
                                                             14     America Tower, 42nd Floor
                                                                    2929 Allen Parkway
                                                             15     Houston, Texas 77019-7101
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               *****************                                  APPEARING FOR M-I SWACO:
                  VOLUME 1                                   17     Mr. Patrick Elkins
               *****************                                    MORGAN, LEWIS & BOCKIUS, LLP
                                                             18     1000 Louisiana Street, Suite 4200
                                                                    Houston, Texas 77002-5006
                                                             19
          Deposition of Yancy Jacob Keplinger,               20   APPEARING FOR HALLIBURTON:
     taken at the Pan-American Building, 601 Poydras                Mr. Donald E. Godwin
                                                             21     Ms. Stefanie K. Major
     Street, 11th Floor, New Orleans, Louisiana,                    GODWIN RONQUILLO
     70130, on the 12th day of September, 2011.              22     1201 Elm Street, Suite 1700
                                                                    Dallas, Texas 75270-2041
                                                             23
                                                             24
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 1         APPEARANCES                                        1   APPEARING FOR SEACOR:
 2                                                                 Ms. Sylvia E. Simson
 3                                                            2    WEIL, GOTSHAL & MANGES
 4   APPEARING FOR THE PLAINTIFFS' STEERING COMMITTEE:
      Mr. Matthew E. Lundy                                         767 Fifth Avenue
 5    LUNDY, LUNDY, SOLLEAU & SOUTH, LLP                      3    New York, New York 10153-0119
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 6    Lake Charles, Louisiana 70601                               APPEARING FOR THE STATE OF LOUISIANA:
 7                                                            5    Ms. Phyllis E. Glazer
     APPEARING FOR BP, INC.:                                       Assistant Attorney General
 8    Mr. Don K. Haycraft                                     6    Litigation Division
      LISKOW & LEWIS
 9    One Shell Square                                             LOUISIANA DEPARTMENT OF JUSTICE
      701 Poydras Street, Suite 5000                          7    400 Poydras Street, Suite 1600
10    New Orleans, Louisiana 70139-5099                            New Orleans, Louisiana 70130-3220
11    Ms. Margaret J. Jantzen                                 8
      KIRKLAND & ELLIS                                        9   APPEARING FOR THE WITNESS YANCY JACOB KEPLINGER:
12    300 North LaSalle                                            Mr. Todd Elias
      Chicago, Illinois 60654
13
                                                             10    GORDON, ELIAS & SEELY
14   APPEARING FOR TRANSOCEAN:                                     1811 Bering, Suite 300
      Mr. John Kinchen                                       11    Houston, Texas 77057
15    HUGHES ARRELL KINCHEN                                  12
      Norfolk Tower                                               ALSO PRESENT:
16    2211 Norfolk, suite 1110                               13    Mr. Peter Jennings, Videographer
      Houston, Texas 77098                                   14
17
       Mr. Daniel O. Goforth
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18     GOFORTH GEREN EASTERLING                              16
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20     Mr. Richard J. Hymel                                  19
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21     Versailles Centre, Suite 400                          21
       102 Versailles Boulevard
22     Lafayette, Louisiana 70501                            22
23                                                           23
24                                                           24
25                                                           25

                                                                                                        1 (Pages 1 to 4)
                                  PURSUANT TO CONFIDENTIALITY ORDER
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                                          18        Q.         Did you ever sacrifice safety to
                                          19      get a bonus?
                                          20        A. You never sacrifice safety.
                                          21        Q. Oh. So the answer to my question is
                                          22      "No"?
                                          23        A. No.
                                          24        Q. Did you -- did you have Stop Work
                                          25      Authority on the DEEPWATER HORIZON?
                                    174                                                         176
                                              1     A. Yes.
                                              2     Q. Okay.
                                              3     A. Everyone did.
                                              4     Q. Did you feel you had not only the right
                                              5   but the obligation to stop work if you thought an
                                              6   ongoing operation was unsafe?
                                              7     A. It was my obligation to stop the job.
                                              8

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                                                                  44 (Pages 173 to 176)
                PURSUANT TO CONFIDENTIALITY ORDER
            Case 2:10-md-02179-CJB-DPC Document 4457-32 Filed 11/01/11 Page 3 of 22

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19         Q. On the four days you were on the
20      DEEPWATER HORIZON immediately before the disaster
21      struck, did you feel that everything was going
22      normally?
23         A. Yeah.
24         Q. Did you have any indication that there
25      was anything unsafe about any of the operations
                                                        178                           180
    1   on the rig during those four days?
    2      A. No, because I thought it was just --
    3   everything was going normal, pretty -- pretty
    4   safe. Everybody was doing what they had to do
    5   safely.




1                                                             1




                                                                  45 (Pages 177 to 180)
                            PURSUANT TO CONFIDENTIALITY ORDER
    Case 2:10-md-02179-CJB-DPC Document 4457-32 Filed 11/01/11 Page 4 of 22

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                                          16        When you were on the DEEPWATER HORIZON,
                                          17   Mr. Keplinger, was safety a priority for you?
                                          18     A. Yes.
                                          19     Q. Was it the No. 1 priority for you?
                                          20     A. Yes.
                                          21     Q. What about your fellow crew members, as
                                          22   far as you knew and observed during your time
                                          23   there, was safety a priority for them?
                                          24     A. In my opinion, yes.
                                          25     Q. Okay. Did you ever, during your time
                                    222                                                      224
                                          1    there, see any of your fellow crew members have a
                                          2    callous or indifferent attitude toward the safety
                                          3    of their fellow crew members?
                                          4       A. I'm not sure I can answer that. That's,
                                          5    you know, opinion stated.
                                          6       Q. It's -- I'm asking for you -- you never
                                          7    saw anything, though, that -- that -- that --
                                          8    that -- that to you suggested --
                                          9       A. Not to my -- not to my recollection.
1




                                                               56 (Pages 221 to 224)
                PURSUANT TO CONFIDENTIALITY ORDER
                    Case 2:10-md-02179-CJB-DPC Document 4457-32 Filed 11/01/11 Page 5 of 22
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                     Reported By:

JAMES BRENT MANSFIELD                                                                          May 12, 2011   DIANE TEWIS CLARK, RPR, RMR, CRR


                                                                                                                                          Page 1
                                      UNITED STATES DISTRICT COURT

                                    EASTERN DISTRICT OF LOUISIANA




               IN RE: OIL SPILL                                                  MDL NO. 2179
               BY THE OIL RIG
               "DEEPWATER HORIZON"                                               SECTION:         J
               IN THE GULF OF
               MEXICO, ON                                                        JUDGE BARBIER
               APRIL 20, 2010                                                    MAG. JUDGE SHUSHAN




                            Deposition of JAMES BRENT MANSFIELD,

               8510 Watch Tower Street, San Antonio, Texas

               78254, taken in the Pan American Life Center,

               Bayou Room, 11th Floor, 601 Poydras Street,

               New Orleans, Louisiana 70130, reported on

               Thursday, May 12th, 2011.




601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C.                                                                 Telephone: (504) 525-9100
New Orleans, LA 70130-6009                                                Board-Certified Court Reporters              Facsimile: (504) 525-9109
                                                                                                                             943fb35b-f3d1-4856-8f5e-b57b7191629e
                    Case 2:10-md-02179-CJB-DPC Document 4457-32 Filed 11/01/11 Page 6 of 22
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                                Reported By:

JAMES BRENT MANSFIELD                                                                           May 12, 2011        DIANE TEWIS CLARK, RPR, RMR, CRR

                                                                                               Page 94                                                 Page 96
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 10                                                                                                      10




                                                                                               Page 95                                                 Page 97



                                                                                                          3        Q. I'm going to begin with some
                                                                                                          4   questions that I think may be difficult for
                                                                                                          5   you. Did you know Jason Anderson?
                                                                                                          6        A. (Nodding head affirmatively)
                                                                                                          7   yes, sir.
                                                                                                          8        Q. Based on what you knew of
                                                                                                          9   Mr. Anderson, was he a hard working employee,
 10                                                                                                      10   sir?
                                                                                                         11        A. Yes, sir.
                                                                                                         12        Q. Did you consider him to be a
                                                                                                         13   safety conscious employee, sir?
                                                                                                         14        A. Yes, sir.
                                                                                                         15        Q. Were you aware of anything that
                                                                                                         16   suggested that Mr. Anderson would ever take
                                                                                                         17   risks that would endanger the life of the
                                                                                                         18   crew of the DEEPWATER HORIZON?
                                                                                                         19        A. No, sir.
                                                                                                         20        Q. Based on your experiences, he
                                                                                                         21   wasn't the type of person to become
                                                                                                         22   complacent in his job, was he, sir?
                                                                                                         23        A. No, sir.
                                                                                                         24        Q. Did you know Mr. Dewey Revette,
                                                                                                         25   Mr. Mansfield?
                                                                                                                                 25 (Pages 94 to 97)
601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C.                                                                          Telephone: (504) 525-9100
New Orleans, LA 70130-6009                                                Board-Certified Court Reporters                        Facsimile: (504) 525-9109
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                    Case 2:10-md-02179-CJB-DPC Document 4457-32 Filed 11/01/11 Page 7 of 22
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                                   Reported By:

JAMES BRENT MANSFIELD                                                                           May 12, 2011         DIANE TEWIS CLARK, RPR, RMR, CRR

                                                                                               Page 98                                                  Page 100
  1            A. Yes, sir.                                                                               1        A. Yes, sir.
  2            Q. Based on what you knew of                                                               2        Q. Was Mr. Ezell someone that
  3        Mr. Revette, was he a hard-working                                                             3   people looked up to on the rig?
  4        individual?                                                                                    4        A. Yes, sir.
  5            A. Yes, sir.                                                                               5        Q. Mr. Bertone, you worked with him
  6            Q. Was he safety conscious?                                                                6   quite a bit, didn't you, sir?
  7            A. Yes, sir.                                                                               7        A. Yes, sir.
  8            Q. Was he the type of person to act                                                        8        Q. Hard-working guy?
  9        in a way to endanger the life and the safety                                                   9        A. Yes, sir.
 10        of the crew?                                                                                  10        Q. Safety conscious?
 11            A. No, sir.                                                                               11        A. Yes, sir.
 12            Q. Did you like these gentlemen?                                                          12        Q. Have you ever seen anything that
 13            A. Yes, sir.                                                                              13   Mr. Bertone did that would suggest to you
 14            Q. You know Jimmy Harrell, don't                                                          14   that he was putting the crew in an unsafe or
 15        you, sir?                                                                                     15   dangerous position?
 16            A. Yes, sir.                                                                              16        A. Never. No, sir.
 17            Q. He was the OIM aboard the                                                              17        Q. He worked hard on safety issues,
 18        DEEPWATER HORIZON at the time of the                                                          18   didn't he?
 19        incident?                                                                                     19        A. Yes, sir.
 20            A. Yes, sir.                                                                              20        Q. And you worked hard with him,
 21            Q. And you had worked with                                                                21   isn't that true?
 22        Mr. Harrell when he was the OIM during your                                                   22        A. Yes, sir.
 23        time on the DEEPWATER HORIZON from the time
 24        you started; correct?
 25            A. Yes, sir.
                                                                                               Page 99                                                  Page 101
  1            Q. He had an open-door policy?
  2            A. Correct.
  3            Q. Good fellow?
  4            A. Yes, sir.
  5            Q. Safety conscious?
  6            A. For sure.
  7            Q. Worked hard at it?
  8            A. Yes, sir.
  9            Q. Detail oriented?
 10            A. Yes, sir.
 11            Q. Supportive of you and the crew
 12        and your concerns?
 13            A. Always.
 14            Q. Do you know Randy Ezell?
 15            A. Uh-huh (indicating
 16        affirmatively).
 17            Q. She is taking it down,
 18        sometimes --
 19            A. Yes, sir.
 20            Q. I appreciate that. Good fellow?
 21            A. Yes, sir.
 22            Q. Hard working guy?
 23            A. Yes, sir.
 24            Q. Knowledgeable about his job as
 25        far as you know?
                                                                                                                                 26 (Pages 98 to 101)
601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C.                                                                           Telephone: (504) 525-9100
New Orleans, LA 70130-6009                                                Board-Certified Court Reporters                          Facsimile: (504) 525-9109
                                                                                                                                           943fb35b-f3d1-4856-8f5e-b57b7191629e
                    Case 2:10-md-02179-CJB-DPC Document 4457-32 Filed 11/01/11 Page 8 of 22
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                     Reported By:

JAMES BRENT MANSFIELD                                                                          May 12, 2011   DIANE TEWIS CLARK, RPR, RMR, CRR

                                                                                           Page 102                                       Page 104
   1                                                                                                  1




  6             Q. I read something I think you
  7        wrote and I want to see if you remember it,
  8        in May of 2009, these are comments that I
  9        believe you might have said -- I want you to
 10        listen to me and tell me if you recall maybe 10
 11        saying something like this.
 12                 Quote: "I take pride in being a
 13        Transocean employee and being part of the
 14        team DEEPWATER HORIZON. Everyone on this rig
 15        has treated me with respect starting the
 16        first day that I came aboard. I will
 17        continue to do my best in whatever position
 18        that I may hold with Transocean," end quote.
 19                 Do you recall writing those
 20        words?
 21             A. Yes, sir.
 22             Q. You meant them, didn't you?
 23             A. Yes, sir.
 24             Q. And you still mean them, is that
 25        right?
                                                                                           Page 103                                       Page 105
   1           A. Yes, sir.
   2           Q. You worked hard to meet your
   3       responsibilities, didn't you?
   4           A. Yes, sir.
   5           Q. And you understood your
   6       responsibilities, didn't you, Mr. Mansfield?
   7           A. Yes, sir.
   8

 10                                                                                                   10




                                                                                                                     27 (Pages 102 to 105)
601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C.                                                                 Telephone: (504) 525-9100
New Orleans, LA 70130-6009                                                Board-Certified Court Reporters              Facsimile: (504) 525-9109
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                    Case 2:10-md-02179-CJB-DPC Document 4457-32 Filed 11/01/11 Page 9 of 22
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                                Reported By:

JAMES BRENT MANSFIELD                                                                          May 12, 2011       DIANE TEWIS CLARK, RPR, RMR, CRR

                                                                                           Page 106                                                  Page 108
   1                                                                                                   1        A. Correct.
                                                                                                       2        Q. And that is something that
                                                                                                       3   Mr. Harrell supported; isn't that right?
                                                                                                       4        A. Correct.
                                                                                                       5        Q. Did you ever see anybody get
                                                                                                       6   fired or reprimanded for calling time out for
                                                                                                       7   safety?
                                                                                                       8        A. No, sir.
                                                                                                       9        Q. What is a think plan?
 10                                                                                                   10        A. A think plan. Well, three types
                                                                                                      11   of them, a written think plan, basically,
                                                                                                      12   what it is is an analysis of a job, it's an
                                                                                                      13   overview of the job you're going to do. If
                                                                                                      14   it's a big enough job, determining if --
                                                                                                      15   depending on how involved it is, you might
                                                                                                      16   write it all down and go through with every
                                                                                                      17   member of the team. If it's an individual
                                                                                                      18   job, you're just going to go do, you might
                                                                                                      19   just do a mental think plan to yourself, go
                                                                                                      20   through all the hazards, identify hazards and
                                                                                                      21   what's your -- the steps you're going to take
                                                                                                      22   to get the job done. And then if it's a -- a
                                                                                                      23   verbal think plan is also another style. You
                                                                                                      24   can just talk about it with everybody that's
                                                                                                      25   involved and required for every job.
                                                                                           Page 107                                                  Page 109
                                                                                                       1       Q. That was whether it was written
                                                                                                       2   or mental or verbal, that was part of
                                                                                                       3   Transocean's policies and procedures to
                                                                                                       4   ensure things were conducted in a safe
                                                                                                       5   manner?
                                                                                                       6       A. Correct.
                                                                                                       7       Q. And those were policies and
                                                                                                       8   procedures that you followed, is that
                                                                                                       9   correct?
                                                                                                      10       A. Yes, sir.
 11             Q. Have you ever heard the phrase                                                     11       Q. And you expected the people that
 12        "time out for safety"?                                                                     12   you oversaw to follow?
 13             A. Yes, sir.                                                                          13       A. Yes, sir.
 14             Q. What does that phrase mean to                                                      14       Q. In fact, you would make sure
 15        you, Mr. Mansfield?                                                                        15   they followed the safety procedures?
 16             A. It means if anybody at any time                                                    16       A. Correct.
 17        identifies something that is going to                                                      17       Q. And you supported the people
 18        jeopardize the safety of the job, they can                                                 18   that worked under you if they needed to call
 19        call -- you know, take a timeout and say,                                                  19   a time out for safety?
 20        let's fix it before we continue.                                                           20       A. By all means.
 21             Q. And that was something that you                                                    21       Q. You let them know that, hey, I
 22        had invoked before, isn't that true?                                                       22   will support you and this rig management team
 23             A. Yes, sir.                                                                          23   will support you?
 24             Q. That's something you've seen                                                       24       A. That's right, yes, sir.
 25        your colleagues invoke?
                                                                                                                             28 (Pages 106 to 109)
601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C.                                                                         Telephone: (504) 525-9100
New Orleans, LA 70130-6009                                                Board-Certified Court Reporters                       Facsimile: (504) 525-9109
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           Case 2:10-md-02179-CJB-DPC Document 4457-32 Filed 11/01/11 Page 10 of 22

                                                         1                                                           3
            UNITED STATES DISTRICT COURT                      1   APPEARING FOR ANADARKO PETROLEUM COMPANY:
            EASTERN DISTRICT OF LOUISIANA                          Ms. Rianne Rocca
                                                              2    BINGHAM MCCUTCHEN
                                                                   Three Embarcadero Center
     IN RE: OIL SPILL    ) MDL NO. 2179                       3    San Francisco, California 94111-4067
     BY THEOIL RIG     )                                      4
                                                                  APPEARING FOR CAMERON INTERNATIONAL CORPORATION:
     "DEEPWATER HORIZON" IN ) SECTION "J"                     5    Mr. Jim Taylor
     THE GULF OF MEXICO, ON )                                      BECK, REDDEN & SECREST
     APRIL 20, 2010   ) JUDGE BARBIER                         6    One Houston Center
                 ) MAG. JUDGE SHUSHAN                              1221 McKinney Street, Suite 4500
                                                              7    Houston, Texas 77010-2010
                                                              8
                                                                  APPEARING FOR WEATHERFORD:
                                                              9    Mr. William J. Joyce
                                                                   JONES, WALKER, WAECHTER, POITEVENT,
                                                             10    CARRERE & DENEGRE, LLP
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                                                             11    New Orleans, Louisiana 70170-5100
                                                             12
                                                                  APPEARING FOR M-I SWACO:
                                                             13    Mr. Robert Sean Brennan, Jr.
                                                                   MORGAN, LEWIS & BOCKIUS, LLP
                                                             14    1111 Pennsylvania Avenue, NW
                                                                   Washington, D.C. 20004
                 *****************                           15
                                                             16   APPEARING FOR HALLIBURTON:
                    VOLUME 1                                       Mr. Jerry C. von Sternberg
                 *****************                           17    GODWIN RONQUILLO
                                                                   1331 Lamar, Suite 1665
                                                             18    Houston, Texas 77010-3133
                                                             19    Mr. Israel R. Silvas
          Deposition of Captain John B. MacDonald,                 GODWIN RONQUILLO
     taken at the Pan-American Building, 601 Poydras         20    Renaissance Tower
     Street, 11th Floor, New Orleans, Louisiana,                   1201 Elm Street, Suite 1700
     70130, on the 30th day of September, 2011.              21    Dallas, Texas 75270-2041
                                                             22
                                                             23
                                                             24
                                                             25

                                                         2                                                           4
 1          APPEARANCES                                       1   APPEARING FOR THE UNITED STATES:
 2                                                                  Ms. Abigail E. André
 3                                                            2     U.S. DEPARTMENT OF JUSTICE
 4   APPEARING FOR THE PLAINTIFFS' STEERING COMMITTEE:              ENVIRONMENTAL & NATURAL
       Mr. Andrew A. Lemmon
 5     LEMMON LAW FIRM
                                                              3     RESOURCES DIVISION
       650 Poydras Street, Suite 2335                               Post Office Box 7611
 6     New Orleans, Louisiana 70130                           4     Ben Franklin Station
 7     Mr. Alexander H. Caron                                       Washington, D.C. 20044-7611
       FOOTE, MEYERS, MIELKE & FLOWERS                        5
 8     3 North Second Street, Suite 300                             Mr. A. Nathaniel Chakeres
       St. Charles, Illinois 60174                            6     U.S. DEPARTMENT OF JUSTICE
 9                                                                  ENVIRONMENTAL & NATURAL
10   APPEARING FOR BP, INC.:                                  7     RESOURCES DIVISION
       Mr. Don K. Haycraft
11     LISKOW & LEWIS
                                                                    601 D Street, N.W.
       One Shell Square                                       8     Washington, D.C. 20004
12     701 Poydras Street, Suite 5000                         9
       New Orleans, Louisiana 70139-5099                          APPEARING FOR THE STATE OF LOUISIANA:
13                                                           10     Mr. Douglas R. Kraus
       Mr. Micha C. E. Osgood                                       Attorneys for Louisiana Attorney General
14     KIRKLAND & ELLIS                                      11     KANNER & WHITELEY
       555 California Street                                        701 Camp Street
15     San Francisco, California 94104                       12     New Orleans, Louisiana 70130-3504
16
                                                             13
     APPEARING FOR TRANSOCEAN:
17     Mr. Robert M. Kallam                                       ALSO PRESENT:
       PREIS & ROY                                           14    Mr. Peter Jennings, Videographer
18     Versailles Centre, Suite 400                                Ms. Tracey Bamberger
       102 Versailles Boulevard                              15
19     Lafayette, Louisiana 70501                            16
20     Mr. John Kinchen                                      17
       HUGHES ARRELL KINCHEN                                 18
21     Norfolk Tower                                         19
       2211 Norfolk, suite 1110                              20
22     Houston, Texas 77098
23     Mr. David G. Dickman
                                                             21
       VENABLE                                               22
24     575 7th Street, NW                                    23
       Washington, D.C. 20004                                24
25                                                           25

                                                                                                      1 (Pages 1 to 4)
                                         PURSUANT TO CONFIDENTIALITY ORDER
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                                     45                                                        47




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                                     46                                                        48




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                                          18      Q. So -- so it sounds like, from the
                                          19   response standpoint, your conclusion from the
                                          20   interviews you conducted is that they did what
                                          21   every -- what they could do.
                                          22      A. What I hear -- what I hear over and over
                                          23   from people, here and afterwards, is that the 115
                                          24   people that survived the initial explosions, the
                                          25   blowout, and the fact that they're all home with
                                                                   12 (Pages 45 to 48)
                PURSUANT TO CONFIDENTIALITY ORDER
           Case 2:10-md-02179-CJB-DPC Document 4457-32 Filed 11/01/11 Page 12 of 22

                                                            49                        51
    1   their families, it's almost unheard of, and --
    2   and they feel blessed, and they all miss and they
    3   feel terrible for the 11 lost and -- and the 17
    4   injured.
    5         But, overall, I mean, they -- yes, I
    6   think they did an excellent job, and I haven't
    7   talked to anybody who's -- who's -- who's
    8   different in opinion, anybody that I talked with.

1                                                                1




                                                            50                        52




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                                                                     13 (Pages 49 to 52)
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                                                    69                             71




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                                                    70                             72




 8        The Time Out For Safety, Transocean is
 9   huge on empowering people to do -- to stop the
10   job, Time Out For Safety. Even if the job           1
11   doesn't need to be stopped for a Safety reason,
12   if somebody perceives it, they have the
13   opportunity. And maybe they find a better way to
14   do something, too, you know.
15




                                                               18 (Pages 69 to 72)
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                                                  293                                                      295
                                                        1    and talking with all the people about all the
                                                        2    things that they -- they were fighting, and had
                                                        3    to -- to do to save themselves and their -- the
                                                        4    crew members is that they did -- many, many
                                                        5    people did many, many heroic things. They acted
 6        Do you recall your testimony earlier          6    as I would expect Transocean people, or -- or
 7   where Counsel for BP went through a number of      7    people in another industry, I mean if people that
 8   interviews that you conducted of the Marine crew 8      are well trained and care about one another.
 9   aboard the HORIZON?                                9          And everybody on the Bridge, everybody
10        Do you remember that line of testimony?      10    making the -- the rescues with the stretchers,
11     A. Yes.                                         11    keeping the people calm in the boats, getting the
12     Q. All right. I believe you indicated that      12    stretcher into the life raft, the people on the
13   there were about 12 or 13 individuals within the  13    Bridge, how quickly they -- they reacted in terms
14   Marine Department that you sat down, spoke to, 14       of getting out the VHF, the Mayday, and the GMBSS
15   and actually conducted interviews; is that right? 15    distress, telling the boat to clear, making the
16     A. Yes.                                         16    PAs and the general alarms, to get all those
17     Q. All right. Each of those interviews took     17    people out there, and get them onto the two boats
18   about -- approximately how long?                  18    when they had nothing back aft, and people were
19     A. Ah, I think they varied.                     19    coming from -- that -- that's a very big rig,
20     Q. Okay. Short end of 20 to 30 minutes or       20    very big vessel.
21   an hour?                                          21          So I just know from my experience there
22     A. I'd say somewhere in that area --            22    could have been people anyplace, you know, way
23     Q. Okay.                                        23    down the columns had to get up and things, and
24     A. -- between 20 minutes and an hour, so --     24    that they get everybody off, except for the
25     Q. The longest being an hour and a half to      25    people who, you know, may -- except for the
                                                  294                                                      296
 1   two hours, perhaps?                                 1   people who may not have perished dur -- during
 2      A. Oh, I don't think there are any that --       2   the explosion, or asphyxiation, whatev -- what --
 3   well, I -- I'm not positive.                        3   I don't know what would have done it, but I think
 4      Q. All right. So in any event, it appears        4   that all those people to get off, it just speaks
 5   you spent probably eight to twelve hours sitting    5   volumes for the training, the training that they
 6   down with crew members aboard the HORIZON,          6   had.
 7   talking to them about the events that took place    7         And I can -- I can tell you after the
 8   on the night in question?                           8   fact, talking to guys that used to work with our
 9            MR. HAYCRAFT: Object to form.              9   company, I can tell you from working with people
10      Q. (By Mr. Kallam) Is that -- is that           10   in our industry that I've known for 20 and 30
11   correct?                                           11   years, they -- they -- they all say, "Our
12      A. Sounds -- yeah.                              12   training was a huge part of it."
13      Q. All right. And I believe Counsel for         13         Because I -- I talk to guys on other
14   Halliburton asked you if you had formulated any    14   vessels who, you know, get your basic Coast Guard
15   opinions or conclusions as to the efforts, the     15   training when you get your License. And the
16   work, and the actions of those crew members that   16   drills, the fact that they -- they did the
17   night; is that correct?                            17   drills, they took them seriously.
18      A. Yes.                                         18         Everybody knew the alarm signals, you
19      Q. All right. Can you describe for us the       19   know, what the differences between, you know,
20   conclusions that you reached concerning the        20   whether it's abandon, or fire and emergency or
21   activities of the Marine crew in general on the    21   tox -- or H -- H2S, the ones they hear every
22   night of April 20, 2010, when they were faced      22   week, those things made a huge difference --
23   with what they were faced with?                    23      Q. (By Mr. Kallam) I appreciate that.
24            MR. HAYCRAFT: Object to form.             24      A. -- and saved people's lives.
25      A. My -- my thoughts, based on my experience    25      Q. Did you question each Marine crew member
                                                                             74 (Pages 293 to 296)
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                                                     297                           299
 1   that you interviewed concerning the safety
 2   culture of Transocean in general, but more
 3   particularly on the DEEPWATER HORIZON?
 4      A. Yes.
 5             MR. CHAKERES: Objection, form.
 6      Q. (By Mr. Kallam) Can -- can you tell the
 7   Court what the conclusions were, factually, that
 8   you reached concerning the safety culture and
 9   safety environment aboard the HORIZON in
10   particular, but among Transocean in general?      1
11             MR. HAYCRAFT: Object, form.
12      A. I -- excuse me. I -- my conclusion was
13   that they had very good teamwork. They had
14   respect for one another; that their -- that their
15   training and safe -- their safety culture was
16   very good. I mean, they're -- they're telling me
17   about -- I don't know how long ago it was, you
18   know, getting an award from BP, and the -- I
19   can't remember. I remember days without lost
20   time acc -- incidents, but I do remember that it
21   was pretty impressive. I can't -- you know,
22   that's not -- my memory, that part of my memory
23   is not -- not coming to me right now, but --
24      Q. (By Mr. Kallam) All right. Based upon
25   the interviews that you conducted and the
                                                     298                           300
 1   information that you received, was it fair to say
 2   that none of the Transocean crew members were
 3   acting callous or indifferent towards safety?
 4            MR. HAYCRAFT: Objection, form.
 5            MR. CHAKERES: Objection, form.
 6            MR. VON STERNBERG: Objection, form.
 7      A. Yes. I think they -- they were all --
 8   they embraced safety. I mean, that -- they --
 9   they were proud to be -- you know, all the
10   opportunities they had and the training that the      1
11   Company offers them.
12         And a lot of people have told me in the
13   interviews, and outside of it, they're very happy
14   about Transocean's safety culture, and the
15   ability of Transocean to provide a lot of the
16   classes that they do for people, like the THINK,
17   the START, the Focus, you know, Time Out For
18   Safety. All those type of things where they
19   empower people and train people, teach people,
20   and improve their situational awareness, that's
21   why a hundred -- 115 people got home with their
22   families.




                                                               75 (Pages 297 to 300)
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                                                         1                                                           3
           UNITED STATES DISTRICT COURT                       1   APPEARING FOR CAMERON INTERNATIONAL CORPORATION:
                                                                   Ms. Kathleen A. Gallagher
           EASTERN DISTRICT OF LOUISIANA                      2    BECK, REDDEN & SECREST
                                                                   One Houston Center
     IN RE: OIL SPILL    ) MDL NO. 2179                       3    1221 McKinney Street, Suite 4500
     BY THEOIL RIG     )                                           Houston, Texas 77010-2010
                                                              4
     "DEEPWATER HORIZON" IN ) SECTION "J"                     5   APPEARING FOR WEATHERFORD:
     THE GULF OF MEXICO, ON )                                      Mr. William J. Joyce
     APRIL 20, 2010   ) JUDGE BARBIER                         6    JONES, WALKER, WAECHTER, POITEVENT,
                                                                   CARRERE & DENEGRE, LLP
                 ) MAG. JUDGE SHUSHAN                         7    201 St. Charles Avenue
                                                                   New Orleans, Louisiana 70170-5100
                                                              8
                                                              9   APPEARING FOR DRIL-QUIP, INC.:
                                                                   Mr. Jay Nelson
                                                             10    WARE, JACKSON, LEE & CHAMBERS
                                                                   America Tower, 42nd Floor
                                                             11    2929 Allen Parkway
                                                                   Houston, Texas 77019-7101
                                                             12
                                                             13   APPEARING FOR M-I SWACO:
                                                                   Ms. Denise Scofield
                                                             14    MORGAN, LEWIS & BOCKIUS, LLP
                                                                   1000 Louisiana Street, Suite 4200
                                                             15    Houston, Texas 77002-5006
               *****************                             16
                  VOLUME 1                                        APPEARING FOR HALLIBURTON:
               *****************                             17    Mr. Prescott W. Smith
                                                                   GODWIN RONQUILLO
                                                             18    1201 Elm Street, Suite 1700
                                                                   Dallas, Texas 75270-2041
          Deposition of Paul James Meinhart, III,            19
                                                                    Mr. Daniel T. Zwart
     taken at Pan-American Building, 601 Poydras             20     GODWIN RONQUILLO
     Street, 11th Floor, New Orleans, Louisiana,                    1331 Lamar, Suite 1665
     70130, on the 28th day of July, 2011.                   21     Houston, Texas 77010-3133
                                                             22
                                                             23
                                                             24
                                                             25

                                                         2                                                           4
 1         APPEARANCES                                        1   APPEARING AS OBSERVER FOR THE
 2                                                                U.S. DEPARTMENT OF THE INTERIOR:
 3                                                            2     Mr. Lance C. Wenger
 4   APPEARING FOR THE PLAINTIFFS' STEERING COMMITTEE:              OFFICE OF THE SOLICITOR
      Mr. Matthew E. Lundy                                    3     ROCKY MOUNTAIN REGION
 5    LUNDY, LUNDY, SOLLEAU & SOUTH, LLP
      501 Broad Street
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 6    Lake Charles, Louisiana 70601                           4     755 Parfet Street, Suite 151
 7    Ms. Lauren Lundy Adcock                                       Lakewood, Colorado 80215
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 8    300 North College Avenue, Suite 309                     6   APPEARING FOR THE STATE OF LOUISIANA:
      Fayetteville, Arkansas 72701                                  Mr. Henry Dart
 9                                                            7     510 North Jefferson Street
10   APPEARING FOR BP, INC.:                                        Covington, Louisiana 70433
      Mr. David W. Leefe                                      8
11    LISKOW & LEWIS                                          9   APPEARING FOR PAUL JAMES MEINHART, III:
      One Shell Square                                              Mr. Geoff L. Womack
12    701 Poydras Street, Suite 5000
                                                             10     GUY WOMACK & ASSOCIATES
      New Orleans, Louisiana 70139-5099
13                                                                  402 Main Street, Sixth Floor
14   APPEARING FOR TRANSOCEAN:                               11     Houston, Texas 77002
      Mr. Daniel Johnson                                     12     Mr. Cory D. Itkin
15    SUTHERLAND ASBILL & BRENNAN                                   ARNOLD & ITKIN
      1001 Fannin, Suite 3700                                13     1401 McKinney Street, Suite 2550
16    Houston, Texas 77002-6760                                     Houston, Texas 77010
17    Mr. Robert M. Kallam                                   14
      PREIS & ROY                                            15   ALSO PRESENT:
18    Versailles Centre, Suite 400                                 Mr. Mark Hendrix, Videographer
      102 Versailles Boulevard                               16
19    Lafayette, Louisiana 70501                             17
20
     APPEARING FOR ANADARKO PETROLEUM COMPANY:
                                                             18
21    Ms. Monique M. Weiner                                  19
      Ms. Janika D. Polk                                     20
22    KUCHLER POLK SCHELL WEINER & RICHESON                  21
      1615 Poydras Street, Suite 1300                        22
23    New Orleans, Louisiana 70112                           23
24                                                           24
25                                                           25

                                                                                                       1 (Pages 1 to 4)
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                                    177                                                      179




                                          23   Did you fear reprisal for reporting an unsafe
                                          24   condition aboard the DEEPWATER HORIZON?
                                          25     A. No.
                                    178                                                      180
                                           1     Q. Do you know other crew members who did?
                                           2     A. No.



                                           6      Q. Were -- there was a statement that those
                                           7   General Safety Meetings were ineffective to
                                           8   communicate safety because they concentrated more
                                           9   on statistics than on safety. Do you agree with
1                                         10   that statement?
                                          11      A. No.
                                          12      Q. You paused. What -- what were you
                                          13   thinking about?
                                          14      A. What was I thinking about? Safety,
                                          15   again, is how you deal with it. I mean, if you
                                          16   want, you can -- you can argue any side of any
                                          17   argument. If you want to argue that it's bad,
                                          18   there's some people that no amount of information
                                          19   is going to convince them opposite of what they
                                          20   think.
                                          21      Q. M-h'm.
                                          22      A. So do I feel that the Safety Meetings
                                          23   were good for me, and that they helped identify
                                          24   conditions that could possibly be hazardous that
                                          25   I may not have thought of, yes --
                                                               45 (Pages 177 to 180)
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                                                   257                                                      259
                                                          1      A. -- of the whole --
                                                          2      Q. You -- you -- you lived on the rig for
                                                          3   half your life during that period, but you only
                                                          4   worked for part of that time when you were on the
                                                          5   rig; is that --
                                                          6      A. Yes.
                                                          7      Q. -- right? Okay. And during that time,
                                                          8   you never noticed any safety issues or safety
                                                          9   problems aboard the rig; is that true?
1                                                        10      A. There was no safety issues that I was
                                                         11   concerned about, no.
                                                         12      Q. Okay. In fact, it's fair to say that --
                                                         13   that safety was something that was constantly
                                                         14   emphasized onboard the DEEPWATER HORIZON; isn't
                                                         15   that true?
                                                         16      A. Yes.




                                                   258                                                      260


 2      Q. Okay. Now, in terms of the DEEPWATER           2
 3   HORIZON, as I understand it, you were transferred
 4   to the HORIZON in December of '09?
 5      A. Yeah, roughly December 10th of '09.
 6      Q. Okay. So -- now, my math may be                6      Q. Now, I gather in -- in addition to these
 7   bad here -- a little less than five months; is       7   pre-tour meetings, there were weekly Safety
 8   that -- that accurate --                             8   Meetings on Saturday; is that right?
 9      A. H'm --                                         9      A. Yes.
10      Q. -- that you -- that you were on the           10      Q. All right. Now, on these weekly Sat --
11   HORIZON?                                            11   Saturday meetings, was that -- was that
12      A. Yeah. Maybe four months.                      12   crew-wide, or were you in individual departments?
13      Q. Okay.                                         13      A. Like Maintenance Department, the
14      A. Yeah.                                         14   Mechanics, Electricians, the ET, and the
15      Q. Now, during the time during that four,        15   Engineers were together, and then the Drilling
16   four and a half, however long it was, fair to say   16   side was together.
17   you spent about half your life on the rig? In       17      Q. Okay. So in terms of the meetings,
18   other words, you were -- you -- you were on         18   they -- they -- there was some division in terms
19   hitch, and then you were off hitch?                 19   of -- of subject matter areas, so to speak?
20      A. Half my life -- or half -- half of the        20      A. Yes.
21   time, yes, was spent on the rig, but --             21      Q. So that, you know, on the Drilling side,
22      Q. Yeah.                                         22   they may have been having Safety Meetings for --
23      A. -- a quarter of that time, spent              23   for the Drilling crew, but on your side it was
24   working --                                          24   kind of focused on the things that the members
25      Q. Right. I gotcha.                              25   of -- of your crew -- things that y'all did; is
                                                                              65 (Pages 257 to 260)
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                                                       261                             263
    1   that right?
    2     A. Yes.                                                2
    3     Q. Okay. And as -- as far as you know, the
    4   par -- people that participated in these meetings
    5   took them seriously, didn't they, sir?
    6     A. Yes.
    7     Q. And you took them seriously?
    8     A. Yes.

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                                                       262                             264




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                                                                     66 (Pages 261 to 264)
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                                    265                                                        267
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                                    266                                                        268
                                              1
                                              2




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                                          22         Q.         And I want to throw some names out
                                          23      there I think you talked a little bit. I think
                                          24      I've covered this. I just want to make sure.
                                          25           You know and worked with Willie Stoner?
                                                                  67 (Pages 265 to 268)
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                                                  269                                                       271
 1      A. Yes.                                          1   Mr. Anderson were the type to be complacent or
 2      Q. You know and you worked with Terry            2   place the -- the lives or the safety of people in
 3   Sellers?                                            3   jeopardy?
 4      A. Yes.                                          4     A. To the best of my knowledge, they were
 5      Q. Ronnie Arnold?                                5   not those.
 6      A. Yes.
 7      Q. Brent Mansfield?
 8      A. Yes.
 9      Q. Doug Brown?
10      A. Yes.                                        1
11      Q. These men take their job seriously?
12      A. Very much.
13      Q. Okay. They work hard?
14      A. Very much.
15      Q. As far as you know, safety conscious?
16      A. Very -- yes.
17      Q. Okay. I want to take you back to the
18   evening of April -- and -- and by the way, you
19   were asked some questions earlier about -- and I
20   think you responded, and you said -- and I want
21   you to tell me if I'm wrong here, but I think you
22   were -- you said something like if someone's
23   lazy, then, yeah, an unsafe situation could occur
24   in terms of the lockout procedures. Do you
25   recall saying something like that?
                                                  270                                                       272
 1      A. Yeah.
 2      Q. All right. Were these the type of folks
 3   that were lazy, as far as you know?
 4      A. The group that I worked with were all
 5   very safety conscious and did everything as
 6   per procedure.
 7      Q. Now, I know that you didn't work on the
 8   drill crew, but as far as you know, do you know a
 9   gentleman named Dewey Revette?
10      A. I had met him once or twice.                1
11      Q. Okay. And as far as you knew, do you
12   have any reason to believe that Mr. Revette was a
13   lazy individual?
14      A. I do not. And from what I've heard of
15   Dewey, he was a very highly respected man on the
16   rig.
17      Q. And let me ask you about Jason Anderson.
18      A. Okay.
19      Q. Do you -- do you have any knowledge about
20   how -- how he was thought of?
21      A. None -- no personal. I don't -- don't
22   recall ever really meeting him. But, again,
23   another person that from everybody I talked to
24   was very highly respected.
25      Q. No reason to believe that Mr. Revette and
                                                                              68 (Pages 269 to 272)
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                                                                           307

 1

 2              I,   PAUL JAMES MEINHART,   III, have read
 3   the foregoing deposition and hereby affix my
 4   signature that same is true and correct, except
 5   as noted on the attached Amendment Sheet.
 6

 7




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